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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

           Robert Dedmon,                         §    CIVIL ACTION NO.
                      Plaintiff,                  §    4:21-cv-03371
                                                  §
                                                  §    JUDGE CHARLES ESKRIDGE
           vs.                                    §
                                                  §    Jury Demand
           Shell Exploration &                    §
           Production Company and                 §
           Shell Trading Services                 §
           Company,                               §
                       Defendants.                §

             PLAINTIFF ROBERT DEDMON’S FIRST AMENDED EXHIBIT LIST

   Robert Dedmon may offer or use any exhibit listed on Defendants’ exhibit list,

including any amended or supplemental exhibit list.




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 NO.                   DESCRIPTION                       OFFER        OBJECT   DATE     DATE
                                                                               ADMIT   N/ADMIT

                  2014 blank calendars

 1       January 2014 calendar
         [Dedmon 2886]


 2       February 2014 calendar
         [Dedmon 2830]


 3       March 2014 calendar
         [Dedmon 2831]


                   2014 hiring decision

 4       April 2, 2024 email — Shell HR,
         Olmen, says March 1, 2014
         promotion led to JG5 loss in
         Houston, HR decides job grades,
         concern about severance actions
         [ShellDedmon 705]


 5       February 19, 2014 & March 13, 2014
         emails — as of March 13, 2014, job
         offer is out to another candidate,
         Dedmon went from #1 to #2,
         Dedmon hopes to find out why
         [Dedmon 805-806]


 6       March 31, 2014 emails —
         downgrading JG5 to JG6, different
         treatment based on POC status
         [ShellDedmon 706-707]




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 7       March 31, 2014 emails — Shell
         manager disputes, with facts and
         reasoning, claimed business reason
         for JG downgrade
         [ShellDedmon 818-820]


 8       April 15, 2014 emails — transfer
         request to offer job at JG5
         [ShellDedmon 813]


 9       April 17, 2014 email — deny request
         to offer job at JG5, will work with
         recruiting to keep candidate “warm”
         [ShellDedmon 717]


 10      April 22, 2014 email — request to
         offer job at JG6 to Dedmon, request
         for pay competitive to skill set so
         possibly at higher end of pay range,
         discomfort over different treatment
         based on POC status
         [ShellDedmon 716]


 11      April 22-23, 2014 emails — will
         respond next day
         [ShellDedmon 722]


 12      April 24, 2014 email — Dedmon
         extensive power market experience,
         resume attached
         [ShellDedmon 726 better copy of
         email; ShellDedmon 766-767 email
         with attached resume]




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 13      April 24, 2014 emails — managers
         say Dedmon well-qualified, Shell HR
         requests proof from resume and
         interview notes, Hartnett OMG
         response
         [ShellDedmon 730-731, 725]


 14      April 24-25, 2014 emails — Shell HR
         will make determination after
         reviewing interview and selection
         notes, Shell manager asks what
         determination, already did
         candidate assessment, confusing to
         follow plot line
         [ShellDedmon 732-734]


 15      April 25, 2014 emails — Shell
         manager response showing Dedmon
         qualifications for job role
         [ShellDedmon 735-736]


 16      April 25, 2014 emails — Shell HR
         has “concerns about this particular
         candidate,” will evaluate whether
         any job offer is made at all, if at all
         will be JG6
         [ShellDedmon 738-739]


 17      April 29, 2014 emails — bonus
         structure, no difference in JG5, JG6
         job duties, Dedmon sales experience,
         Shell years of hires without prior
         sales experience like P. Frnka, M.
         Tickle, J. Promubol; forward to
         Hartnett
         [ShellDedmon 751-752, 744-747]




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 18      April 30, 2014 emails — Shell HR,
         Olmen, says decision on offer likely
         next day, call yesterday about
         conversation with Shell manager
         Rangan and wants to talk more with
         Rangan about that
         [ShellDedmon 748-749]


 19      May 1, 2014 emails — Shell
         manager makes EO report, Shell HR
         concern about Dedmon fit is based
         on POC status, historically, POC
         candidates struggle to succeed at
         Shell; forwards email
         [ShellDedmon 753-754, 769]


 20      May 6, 2014 email — notifies Shell
         Ombudsman providing internal
         dispute resolution services, Sean
         Banks, of EO report about
         discrimination against Dedmon
         [ShellDedmon 755]


 21      May 8, 2014 email — request for
         update on Shell HR decision on
         whether to offer Dedmon a job
         [ShellDedmon 756-757]


 22      May 12, 2014 email — Shell HR,
         Olmen, says her explanation in
         discussing inside sales role for
         Dedmon followed “Shell’s policies
         and practices”
         [ShellDedmon 802]




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 23      May 19, 2014 emails — posting job
         at JG6, Shell HR will say JG5
         position closed and now filling
         similar but lower JG role to see if
         they’re interested in reapplying; job
         posting attachment; cannot justify
         asking Dedmon to do same tasks
         [ShellDedmon 758-764, 768]


 24      May 20, 2014 emails — posting the
         job as sales position but will handle
         less complex deals
         [ShellDedmon 770-771]


 25      May 29, 2014 emails — Shell
         manager notifies Shell’s United
         States Diversity, EEO, and
         Inclusion Advisor Erica Williams
         about EO report, sends information
         [ShellDedmon 774-775, 801]


 26      June 3, 2014 email — Shell
         recruiting will ask Dedmon if
         interested in new posted position
         that has lower JG and salary
         [ShellDedmon 798]


 27      June 4-5, 2014 emails — job
         reposted at JG6, offer and tell
         Dedmon this job is a lower JG than
         the job he previously interviewed
         for, Shell manager questions if there
         are any issues with pending EO
         investigation
         [ShellDedmon 778]




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 28      June 11, 2014 emails — forward
         information to Shell’s United States
         Diversity, EEO, and Inclusion
         Advisor Erica Williams, explains
         some of timeline for talking to
         Olmen
         [ShellDedmon 783-785, 786-787]


                    2015 move to JG5

 29      2015 job candidate comparison
         matrix
         [ShellDedmon 109-111]


 30      February 6, 2015 email
         — applications closed, time to select
         candidate
         [ShellDedmon 112]


 31      February 8, 12 &13, 2015 emails —
         move to JG5 for Dedmon, Shell HR
         Olmen still over inside sales team
         [ShellDedmon 97-98]


 32      February 10-11, 2015 emails —
         power sales position
         [ShellDedmon 849-857]


 33      February 19, 2015 emails — power
         sales position
         [ShellDedmon 893]


 34      February 21, 2015 transfer form
         — move to JG5 for Dedmon
         [ShellDedmon 99-100]



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 35      March 17, 2015 Personnel Action
         Form — job grade and salary change
         [ShellDedmon 91]


                pay disparity, ongoing
         discrimination, Shell does not make
         up for past discrimination with JG5,
                 compensation losses

 36      Federal Rule of Evidence 1006 pay
         disparity summary 2014 through
         2024
         [Dedmon 2887-2889]


 37      Federal Rule of Evidence 1006 pay
         disparity summary 2014
         [Dedmon 2890]


 38      paystubs — used to calculate pay
         disparities for 2014 partial year
         starting August 19, 2014 (estimated
         because Shell did not provide pay
         data for this period for any other
         team member)
         [ShellDedmon 1104, 1109, 1572,
         1597, 3639, 3650, 4052, 4064]


 39      Federal Rule of Evidence 1006 pay
         disparity summary 2015
         [Dedmon 2891]


 40      paystubs — used to calculate pay
         disparities for 2015 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1137, 1615, 3659,
         4073]

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 41      Federal Rule of Evidence 1006 pay
         disparity summary 2016
         [Dedmon 2892]


 42      paystubs — used to calculate pay
         disparities for 2016 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1160, 1660, 3700,
         4097]



 43      Federal Rule of Evidence 1006 pay
         disparity summary 2017
         [Dedmon 2893]


 44      paystubs — used to calculate pay
         disparities for 2017 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1184, 1707, 3742,
         4120]


 45      Federal Rule of Evidence 1006 pay
         disparity summary 2018
         [Dedmon 2894]


 46      paystubs — used to calculate pay
         disparities for 2018 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1218, 1776, 3808,
         4156]


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 47      Federal Rule of Evidence 1006 pay
         disparity summary 2019
         [Dedmon 2895]


 48      paystubs — used to calculate pay
         disparities for 2019 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1245, 1464, 1829,
         3032, 3857]


 49      Federal Rule of Evidence 1006 pay
         disparity summary 2020
         [Dedmon 2896]


 50      paystubs — used to calculate pay
         disparities for 2020 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1272, 1491, 1882,
         3060, 3910]


 51      Federal Rule of Evidence 1006 pay
         disparity summary 2021
         [Dedmon 2897]


 52      paystubs — used to calculate pay
         disparities for 2021 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1297, 1516, 1931,
         3084, 3086, 3965]



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 53      Federal Rule of Evidence 1006 pay
         disparity summary 2022
         [Dedmon 2898]


 54      paystubs — used to calculate pay
         disparities for 2022 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 1322, 1541, 1980,
         4010]


 55      Federal Rule of Evidence 1006 pay
         disparity summary 2023
         [Dedmon 2899]


 56      paystubs — used to calculate pay
         disparities for 2023 (estimated
         because Shell did not provide pay
         data for this period for all team
         members)
         [ShellDedmon 4720, 4724, 4722,
         4735, and 4727]


 57      Federal Rule of Evidence 1006 pay
         disparity summary 2024
         [Dedmon 2900]


 58      paystubs — used to calculate pay
         disparities for 2024 through October
         22, 2024 resignation date (estimated
         because Shell did not provide all pay
         data for this period and did not
         provide any pay data for some team
         members)
         [ShellDedmon 4719, 4723, 4721,
         4733, 4725]

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 59      Federal Rule of Evidence 1006 gross
         margin summary
         [Dedmon 2901]


 60      gross margin Dedmon
         [Dedmon 2846-2851]


 61      gross margin 2018
         [Dedmon 2852-2855]


 62      gross margin 2019
         [Dedmon 2856-2860]


 63      gross margin 2020
         [Dedmon 2861-2866]


 64      gross margin 2021
         [Dedmon 2867-2872]


 65      gross margin 2022
         [Dedmon 2873-2878]


 66      gross margin 2023
         [Dedmon 2879-2884]


 67      Frnka April 2014 start date and
         current employee status
         [ShellDedmon 816; Dedmon 2832]


 68      Shell 2020 mid-marketer [inside
         sales] organizational chart
         [ShellDedmon 1094]

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 69      picture, some team members
         [Dedmon 2885]


                       2014 estoppel

 70      January 17 & 22, 2014 emails, job
         not posted yet
         [Dedmon 762]


 71      January 24, 2014 email, application
         invite for sales representative job
         4089BR
         [Dedmon 811]


 72      January 24 & 31, 2014 & February
         3, 2014 emails, pre-interview,
         overqualified for position
         [Dedmon 827]


 73      January 25, 2014 application
         acknowledgement
         [Dedmon 834]


 74      February 1, 2 & 4, 2014 emails,
         initial February 4 teleconference,
         request for income information
         [Dedmon 849-854]


 75      February 3 & 5, 2014 emails, phone
         interview, loved him, he is 1 of 3
         max to be invited for in-person
         interview
         [Dedmon 826]




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 76      February 6, 2014 emails, comp little
         under base but higher bonus
         potential up to 50%
         [Dedmon 855-861]


 77      February 11 & 12, 2014 emails,
         February 18 in-person interview
         [Dedmon 862]


 78      February 14, 2014 emails, in-person
         interview for sales representative
         job 4089BR
         [Dedmon 830-831]


 79      February 19, 2014 email, post-
         interview, confirms two weeks to
         hear about status of candidacy
         [Dedmon 835]


 80      March 4, 2014 email, requesting
         update on status
         [Dedmon 829]


 81      April 23, 2014 emails showing Shell
         excuse for job grade
         [Dedmon 766]


 82      June 19-20, 2014 emails about re-
         applying for sales representative,
         again shows Shell excuse for job
         grade
         [Dedmon 838-840, 841-848]




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 83      June 22, 2014 emails inviting
         Dedmon to apply for sale
         representative job 8401BR
         [Dedmon 810]


 84      June 30, 2014 email interview that
         afternoon
         [Dedmon 832-833]


 85      July 9, 2014 emails with benefits
         attachments, question about sign-on
         bonus
         [Dedmon 798]


 86      July 9-10, 2014 emails about sign on
         bonus and hard copy of offer letter
         [Dedmon 801]


 87      July 11, 2014 welcome emails after
         (oral) employment acceptance
         [Dedmon 479-480]


 88      July 11, 2014 Shell Exploration &
         Production Company conditional
         employment offer signed July 13,
         2014
         [ShellDedmon 113-116]


 89      July 11, 2014 email about “regret”
         for sales representative job 4089BR
         [Dedmon 803]


 90      July 24, 2014 pre-employment
         screening cleared, start date August
         19, 2014
         [Dedmon 769]

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 91      August 7, 2014 email confirming
         offer of employment, start date
         August 19, 2014, need to complete
         new hire paperwork
         [Dedmon 792]


 92      2014 JG5-6 pay ranges
         [ShellDedmon 64]


                            other

 93      Teri Ramsey (Olmen) LinkedIn
         profile
         [Dedmon 2827-2828]


 94      Frnka LinkedIn profile
         [Dedmon 2832]


 95      November 25, 2014 email Patrick
         Frnka steep learning curve
         [ShellDedmon 864]


                         2020
                    revelation and
                prompt pursuit of rights

 96      2020-06-07 text message from Sri
         Rangan to Robert Dedmon
         [Dedmon 2822]


 97      October 16, 2020
         charge of discrimination
         [ShellDedmon 65-67]




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 98      April 20, 2021 email sending 2014
         JG5-6 pay ranges (duplicate on
         exhibit list)
         [ShellDedmon 64]


 99      May 17, 2021 Shell’s EEOC Position
         Statement
         [Dedmon 449-452]


 100     May 17, 2021 Shell’s EEOC Position
         Statement [Attachment B Anti-
         Harassment Policy for 2020]
         [Dedmon 404]


 101     May 17, 2021 Shell’s EEOC Position
         Statement [Attachment C 2015 Code
         of Conduct]
         [Dedmon 405-448]


                          2021
                   man down on team
                   and need to fill spot

 102     undated job broadcast form
         [ShellDedmon 1087-1093]


 103     September 14, 2021 email from M.
         Tickle
         [ShellDedmon 1073]


                   performance reviews


 104     2014-2023 performance reviews—
         Robert Dedmon
         [ShellDedmon 4292-4328]


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 105     2015-2023 performance reviews—
         Michael Deley
         [ShellDedmon 4329-4358]


 106     2014-2023 performance reviews—
         Patrick Frnka
         [ShellDedmon 4359-4402]


 107     2014-2023 performance reviews—
         Jennifer Hartnett
         [ShellDedmon 4403-4449]


 108     2014-2023 performance reviews—
         Doug Hund
         [ShellDedmon 4450-4491]


 109     2014-2023 performance reviews—
         Ryan Kolkmann
         [ShellDedmon 4492-4519]


 110     2019-2023 performance reviews—
         Logan Luzzi
         [ShellDedmon 4520-4529]


 111     2014-2020 performance reviews—Sri
         Rangan
         [ShellDedmon 4530-4555]


 112     2014-2019 performance reviews—
         Patty Smith
         [ShellDedmon 4556-4598]




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 113     2014-2023 performance reviews—
         Susan Smith
         [ShellDedmon 4599-4637]


 114     2014-2023 performance reviews—
         Michael Tickle
         [ShellDedmon 4638-4710]

          compensatory damages




 115     2022-2023 Confidential medical
         records [Turner]
         [Dedmon2415-2436]


 116     2023 Confidential medical records
         [Davis]
         [Dedmon 2437-2446]


 117     April 10, 2023 Expert Disclosures
         [Jasmine Turner LPC Bio]
         [Dedmon 481-489]


 118     April 10, 2023 Expert Disclosures
         [Anatomy of Anxiety graphic]
         [Dedmon 490]


 119     April 10, 2023 Expert Disclosures
         [brain graphic]
         [Dedmon 491]


 120     April 10, 2023 Expert Disclosures
         [labeled brain graphic]
         [Dedmon 492]



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 121     Headshot picture of Robert Dedmon
         [Dedmon 972]


 122     Picture of Robert Dedmon at Shell
         [Dedmon 2823]


 123     Robert Dedmon family pictures
         [Dedmon 1439-1465; 2824-2826]


 124     Picture—international day for the
         elimination of racial discrimination
         [Dedmon 2829]


 125     life tables
         [Dedmon 2902-2905]


                       Shell policies


 126     2001 Shell website policy—an
         inclusive workplace
         [Dedmon 1003-1006]


 127     2005 Shell sustainability report
         [Dedmon 1014-1058]


 128     2006 Shell sustainability report
         [Dedmon 1129-1173]


 129     2010 code-of-conduct-english on
         2014 website
         [Dedmon 201-240]



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 130     2010 diversity-inclusion brochure
         linked on the 2014 website
         [Dedmon 248-256]


 131     2012 in review – numbers Royal
         Dutch Shell plc Sustainability
         Report on 2014-07 Shell website
         [Dedmon 257]


 132     2012 Royal Dutch Shell plc
         Sustainability Report - Social data
         on 2014-07 Shell Website
         [Dedmon 259]


 133     2014 Shell website entire_shell_sr13
         [Sustainability Report]
         [No bates number]


 134     2014 Shell Annual Report
         [Dedmon 1-200]


 135     2014 Shell website eeoc gina
         supplement
         [Dedmon 241]


 136     2014 Shell website eeoc self print
         poster
         [Dedmon 242-243]


 137     2014 Shell website Trading - United
         States
         [Dedmon 244]




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 138     2014 Shell general business
         principles
         [Dedmon 1007-1013]


 139     July 2014 Shell website - Our
         people - Shell Global
         [Dedmon 245-246]


 140     July 2014 Shell website - Diversity
         and inclusion – our approach - Shell
         Global
         [Dedmon 247]


 141     2015 Shell Code of Conduct English
         [Dedmon 260-303]


 142     2015 Shell Annual Report
         [No bates number]


 143     2020 Shell united states racial
         diversity equity and inclusion plan
         [Dedmon 312-314]


 144     2016 Barnes v. Shell example of
         helpline complaint memo
         [Dedmon 1512-1518]


 145     2020 Shell Website Race and Equity
         Combined Contents
         [Dedmon 315-319]


 146     2020 Shell Annual Report
         [No bates number]



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 147     2020 Shell ethics and compliance
         manual
         [Dedmon 1059-1128]


 148     2021 shell annual report
         [No bates number]


 149     March 2021 Shell Global Helpline
         data privacy policy
         [Dedmon 1331-1335]

 150     May 17, 2021 Shell’s EEOC Position
         Statement [Attachment A EO Policy
         for 2020] (duplicate on exhibit list)
         [Dedmon 403]


 151     May 17, 2021 Shell’s EEOC Position
         Statement [Attachment B Anti-
         Harassment Policy for 2020]
         (duplicate on exhibit list)
         [Dedmon 404]


 152     May 17, 2021 Shell’s EEOC Position
         Statement [Attachment C 2015 Code
         of Conduct] (duplicate on exhibit
         list)
         [Dedmon 405-448]


 153     2022 website shell global helpline
         [Dedmon 1226-1230]


 154     2023 Shell website [de&i]
         [Dedmon 988-1000]




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 155     2023 Shell website [fair pay policy]
         [Dedmon 1001-1002]


 156     February 2024 Shell website fact
         sheet
         [Dedmon 2820-2821]


                  Shell knowledge and
                history of discrimination


 157     1996 nyt shell oil’s own little
         problem
         [Dedmon 2410-2414]


 158     2006 DOL press release re Shell
         E&P
         [Dedmon 2818-2819]


 159     2012 harvard business school global
         diversity and Inclusion at Royal
         Dutch Shell
         [No bates number]


 160     2014-2021 Shell EEO-1 Reports
         [Dedmon 973-987]


 161     2017-10-27 Rodriguez v. Shell
         charge of discrimination
         [Dedmon 2714-2717]


 162     2018 Shater Case Shell Oil EEOC
         Position Statement
         [Dedmon 320-343]



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 163     2020 Shell UK diversity-pay-gap-
         report
         [Dedmon 304-311]


 164     2020-10-05 Shur v. Shell charge of
         discrimination
         [Dedmon 2718-2725]


 165     2021 shell uk pay gap report
         [Dedmon 2759-2772]


 166     July 16, 2021 Sheikh v. Shell charge
         of discrimination
         [Dedmon 2639-2644]


 167     2021-09 oilman magazine gaurdie
         banister
         [Dedmon 2374-2388]


 168     2022 shell uk pay gap report
         [Dedmon 2773-2793]


 169     2023 shell uk pay gap report
         [Dedmon 2794-2817]




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 Date: March 6, 2025                            Respectfully submitted,

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